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  7

  8    Attorneys for Proposed Plaintiff-in-
       Intervention, John Utne, individually
  9    and on behalf of all others similarly
 10    situated and aggrieved
 11                        UNITED STATES DISTRICT COURT
 12                      SOUTHERN DISTRICT OF CALIFORNIA
 13   Case No. 19-cv-01766-AJB-AGS              Related cases:
 14                                             Case No. 19-cv-01766-AJB-AGS
      DONNIE SANCHEZ BARRAGAN,                  Case No. 20-cv-02541-AJB-AGS
 15   ARACELI BARRAGAN, and                     Case No. 21-cv-00461-AJB-AGS
 16   JEREMEY BURCHAM, individually             Case No. 21-cv-00462-AJB-AGS
      and on behalf of others similarly         Case No. 22-cv-00276-AJB-AGS
 17
      situated,
 18                                             Assigned to: Anthony J. Battaglia
      Plaintiffs,                               Magistrate Judge: Andrew G. Schopler
 19
      vs.
 20                                             NOTICE OF MOTION AND
      HOME DEPOT U.S.A., INC., a                MOTION TO INTERVENE, FOR
 21
      Delaware Corporation,                     APPOINTMENT OF INTERIM
 22                                             CLASS COUNSEL AND
      Defendant;                                TRANSFER AND/OR STAY
 23
                                                ACTION; MEMORANDUM OF
 24   JOHN UTNE, individually and on            POINTS AND AUTHORITIES
      behalf of all others similarly situated
 25
      and aggrieved,                            [Filed concurrently with the
 26                                             Declarations of Shaun Setareh and
      Intervenor.                               Stanley D. Saltzman; Request for
 27
                                                Judicial Notice and [Proposed] Order]
 28

                                           i
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  1   Case No. 20-cv-02541-AJB-AGS               Date:      June 16, 2022
  2                                              Time:      2:00 p.m.
      LISA DAVEY, individually and on            Courtroo   4A
  3   behalf of all others similarly situated,   m:
  4                                              Judge:     Anthony J. Battaglia
      Plaintiff,
  5

  6   vs.
  7   HOME DEPOT U.S.A., INC., a
  8   Delaware Corporation, and DOES 1
      through 50, inclusive,
  9

 10   Defendants;
 11   JOHN UTNE, individually and on
 12   behalf of all others similarly situated
      and aggrieved,
 13

 14   Intervenor.
 15
      Case No. 21-cv-00461-AJB-AGS
 16
      JANELLY SANDOVAL, individually
 17
      and on behalf of all others similarly
 18   situated,
 19
      Plaintiff,
 20
      vs.
 21

 22   HOME DEPOT U.S.A., INC., a
      Delaware corporation and DOES 1
 23
      through 50, inclusive,
 24    Defendant;
 25
      JOHN UTNE, individually and on
 26   behalf of all others similarly situated
      and aggrieved,
 27

 28   Intervenor.
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  1   Case No. 21-cv-00462-AJB-AGS
  2
      VIRGIE FLORES, as individuals and
  3   on behalf of others similarly situated
  4
      Plaintiff,
  5

  6   v.
  7   HOME DEPOT U.S.A., INC., a
  8   Delaware limited liability company,
      and DOES 1-50, inclusive,
  9

 10   Defendants;
 11   JOHN UTNE, individually and on
 12   behalf of all others similarly situated
      and aggrieved,
 13

 14   Intervenor.
 15
      Case No. 22-cv-00276-AJB-AGS
 16
      NYIESHA WHITE, on behalf of
 17
      herself and others similarly situated,
 18
      Plaintiff,
 19

 20   v.
 21
      HOME DEPOT U.S.A., INC., and
 22   DOES 1 to 100, inclusive,
 23
      Defendants;
 24
      JOHN UTNE, individually and on
 25
      behalf of all others similarly situated
 26   and aggrieved,
 27
      Intervenor.
 28
                                           iii
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  1                          NOTICE OF MOTION AND MOTION
  2   TO DEFENDANT AND ITS ATTORNEYS OF RECORD:
  3         NOTICE IS HEREBY GIVEN that on June 16, 2022, at 2:00 p.m., or as soon
  4   thereafter as the Court and parties are available, proposed plaintiff in intervention
  5   John Utne (“Mr. Utne”) will and hereby does move the Court for an order:
  6   (1) permitting him to intervene on behalf of a certified class of appriximately 140,000
  7   people in each of the above-captioned cases pursuant to Federal Rule of Civil
  8   Procedure 24, (2) appointing his counsel as interim lead counsel in each of the above-
  9   captioned actions pursuant to Federal Rule of Civil Procedure 23(g) with respect to
 10   any claim(s) that overlap in any way with the certified claims in the Utne Action, and
 11   (3) staying, or in the alternative, transfering each of the above-captioned actions to
 12   the Northern District of California under the Court’s inherent powers and/or the First-
 13   to-File Rule.
 14         Mr. Utne seeks this relief based on the following facts:
 15         The First-Filed Utne Action
 16            1. On March 8, 2016, Mr. Utne filed a lawsuit against Home Depot U.S.A.,
 17                   Inc. (“Home Depot”), alleging causes of action for: (1) failure to pay
 18                   hourly wages (Labor Code §§223, 510, 1194, 1194.2, 1197, 1997.1 and
 19                   1198); (2) failure to provide accurate wage statements (Labor Code
 20                   § 226(a)); (3) failure to timely pay all final wages (Labor Code § 201-
 21                   203); and (4) unfair competition (Business & Professions Code § 17200,
 22                   et seq.). RJN, Exs. A & C.
 23            2. On September 19, 2017, Mr. Utne filed his operative Third Amended
 24                   Complaint in the Utne Action, adding a cause of action for civil
 25                   penalties under Labor Code § 2698, et seq. RJN, Ex. F.
 26            3. On March 20, 2018, the District Court for the Northern District of
 27                   California, the Honorable Richard Seeborg, certified two classes in the
 28                   Utne Action, one of which includes: “all individuals employed by Home
                                             iv
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  1              Depot in hourly-paid or non-exempt positions in California since
  2              March 8, 2012.” RJN, Ex. D.
  3           4. Mr. Utne’s damages expert calculated damages, penalties and interest in
  4              the Utne Action at nearly two billion dollars ($2,000,000,000).
  5           5. Trial in the Utne Action is set for July 25, 2022.
  6         The Subsequently-Filed Consolidated Actions
  7           6. On August 12, 2019, plaintiffs Donnie Sanchez Barragan and Araceli
  8              Barragan filed a complaint against Home Depot. See S.D. Cal., Case No.
  9              19-cv-01766-AJB-AGS (“Barragan Action”).
 10           7. On January 31, 2020, plaintiff Janelly Sandoval filed a complaint
 11              against Home Depot. See S.D. Cal., Case No. 21-cv-00461-AJB-AGS
 12              (“Sandoval Action”).
 13           8. On June 9, 2020, plaintiff Lisa Davey filed a complaint against Home
 14              Depot. See S.D. Cal., Case No. 20-cv-02541-AJB-AGS (“Davey
 15              Action”).
 16           9. On June 23, 2020, plaintiff Virgie Flores filed a complaint against Home
 17              Depot. See S.D. Cal., Case No. 21-cv-00462-AJB-AGS (“Flores
 18              Action”).
 19           10. On March 26, 2021, Home Depot filed a Notice of Related Cases,
 20              seeking to deem the Barragan, Sandoval, Davey, and Flores Actions
 21              related to one another. Barragan Action, Doc. No. 50. Home Depot did
 22              not identify the Utne Action in this filing. RJN, Ex. H.
 23           11. On October 6, 2021, Home Depot filed a Motion to Consolidate the
 24              Barragan, Sandoval, Davey, and Flores Actions. Barragan Action. RJN,
 25              Ex. J. Home Depot argued “[t]he four Related Cases involve similar
 26              legal issues, similar underlying facts, similar putative classes, and the
 27              same Defendant – Home Depot.” Id., at 7:13-14. Home Depot did not
 28              identify the Utne Action in this filing. See id.
                                          v
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  1           12. On November 3, 2021, this Court issued an order consolidating these
  2              actions, and holding that all four cases “involve similar factual and legal
  3              issues surrounding the same alleged misconduct by Home Depot
  4              between October 2015 and March 2020.” RJN, Ex. K, at 4:20-24.
  5         The White Action
  6           13. On August 23, 2021, plaintiff Nyiesha White filed a complaint against
  7              Home Depot. See S.D. Cal., Case No. 22-cv-00276-AJB-AGS (“White
  8              Action”). RJN, Ex. I.
  9           14. In its January 19, 2022, Motion to Dismiss, Stay or Transfer Based on
 10              the First-to File Rule, Home Depot represented to this Court that “the
 11              White Action alleges substantially similar claims [as the Consolidated
 12              Actions] on behalf of substantially similar putative classes against the
 13              same defendant, Home Depot.” RJN, Ex. L, at 7:22-24. Home Depot
 14              further argued: “[White’s] copy-cat putative class action alleges claims
 15              that substantially are identical to those asserted in the Barragan,
 16              Davey, Sandoval, and Flores Consolidated Actions.” Id., at 10:22-25.
 17              Home Depot did not identify the Utne Action in this filing. See id.
 18           15. The White Action and the Utne Action are based on the same facts and
 19              legal theories, and involve the same or substantially the same parties.
 20         The Upcoming Mediation
 21           16. According to a document filed with this Court, Home Depot is
 22              scheduled to mediate the Consolidated Actions on May 10, 2022. RJN,
 23              Ex. N, at p. 5.
 24           17. Upon learning of this fact, Mr. Utne’s counsel asked Home Depot’s
 25              counsel if Home Depot would stipulate to carve out the certified claims
 26              pending in the Utne Action from the upcoming mediation. Setareh
 27              Decl., ¶ 48, Ex. 6. Home Depot and its counsel refused to so stipulate,
 28              and instead indicated Home Depot’s intent to settle certified class
                                         vi
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  1                  action claims that are scheduled to go to trial in July of this year in
  2                  the Northern District of California in the Utne Action at the upcoming
  3                  mediation in the Consolidated Actions. Id., ¶ 49, Ex. 7.
  4         As set forth in detail in the concurrently filed Declaration of Shaun Setareh,
  5   the parties met-and-conferred in writing and telephonically in an effort to resolve this
  6   issue without involving the Court, but were unable to reach an adequate resolution.
  7         This motion is based on this Notice of Motion and Motion, the accompanying
  8   Memorandum of Points and Authorities, the Proposed Complaint in Intervention, the
  9   Declaration of Shaun Setareh (“Setareh Decl.”), the Declaration of Stanley D.
 10   Saltzman (“Saltzman Decl.”), the Request for Judicial Notice, the pleadings and
 11   papers on file in each of the above-captioned matters and in the Utne v. Home Depot
 12   matter, and any further material and argument presented to the Court at the time of
 13   any hearing.
 14

 15
      Dated: April 13, 2022                   SETAREH LAW GROUP
                                              MARLIN & SALTZMAN LLP
 16

 17
                                              By: s/ Stanley D. Saltzman_________
 18

 19                                       Attorneys for Proposed Plaintiff-in-
                                          Intervention, John Utne, individually and on
 20                                       behalf of all others similarly situated and aggrieved
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   1   I.    INTRODUCTION
   2         On March 30, 2018, the Honorable Richard Seeborg granted proposed
   3   plaintiff-in-intervention John Utne’s motion for class certification in Utne v. Home
   4   Depot U.S.A., Inc., N.D. Cal., Case No. 3:16-cv-01854 (“Utne Action”). In doing so,
   5   Judge Seeborg appointed Mr. Utne and his counsel as representatives of a class of
   6   approximately 140,000 people employed by Home Depot in California since 2012,
   7   who allegedly suffered damages as a result of Home Depot’s employment practices.
   8         Mr. Utne brings the current Motion to Intervene in an effort to protect the
   9   interests of the class he was charged with representing because the above-captioned
  10   consolidated and related actions pending before this Court pose an imminent and
  11   material threat to a substantial portion of nearly two billion dollars
  12   ($2,000,000,000) in damages, penalties, and interest at issue in the Utne Action,
  13   which is scheduled for trial in July 2022 in the Northern District of California.
  14         Specifically, and as explained in detail below, Mr. Utne recently became aware
  15   of a scheme orchestrated by defendant Home Depot U.S.A., Inc. (“Home Depot”),
  16   and it counsel, in an effort to absolve Home Depot of a significant portion of the
  17   damages, penalties and interest at issue in the certified Utne Action by:
  18         (i) unduly delaying the Utne Action through various discovery abuses;
  19         (ii) transferring several pending cases from various courts throughout
  20         California to the Southern District of California based on false and otherwise
  21         misleading statements made in court filings in which Home Depot failed to

  22         disclose the existence of the Utne Action to this Court in an effort to keep it

  23         separate from the other pending actions, even though the Utne Action is related

  24         to the pending cases, and was clearly the first filed case;

  25         (iii) failing to file a Notice of Pendency of Other Action in the Utne Action in

  26         violation of the Civil Local Rules for the Northern District of California, again,

  27         to keep the Utne Action isolated from the other pending actions;

  28         (iv) entering into an agreement to mediate four of the consolidated cases

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   1         pending in the Southern District of California on May 10, 2022;
   2         (v) at which time Home Depot will attempt to settle out hundreds of millions
   3         of dollars in Labor Code section 203 and 226 penalties at issue in the Utne
   4         Action at an enormous discount, to the direct detriment of members of the
   5         certified class in the Utne Action.
   6         This is not conjecture. When Mr. Utne discovered the existence of the
   7   consolidated and related cases pending in the Southern District of California, his
   8   counsel asked Home Depot’s counsel to stipulate that Home Depot would not settle
   9   any certified claims of class members currently pending in the Utne Action. Home
  10   Depot and its counsel refused. Thus, it is clear that Home Depot’s defiance of the
  11   Local Rules, and its misrepresentations made to this and other courts, were not
  12   inadvertent, but rather part of a concerted effort to take whatever steps are
  13   necessary to minimize the billions of dollars of exposure it faces in the Utne
  14   Action as a result of its alleged illegal labor and employment practices.
  15         Mr. Utne therefore respectfully requests this Court: (1) grant his motion to
  16   intervene in the consolidated and related actions currently pending before this Court,
  17   (2) appoint his counsel as interim lead counsel with respect to any claims that overlap
  18   with the certified claims in the Utne Action, and (3) stay the actions currently pending
  19   in the Southern District of California for all purposes (including settlement) pending
  20   resolution of the Utne Action, or alternatively, (4) transfer the consolidated and
  21   related actions to the Northern District of California, so that the Court where the real
  22   first-filed case was filed can properly oversee and coordinate these actions.
  23   II.   RELEVANT FACTUAL AND PROCEDURAL HISTORY
  24         A. The Utne Action
  25         On March 8, 2016, Mr. Utne filed a class action lawsuit against Home Depot
  26   in the Superior Court for the County of Alameda, seeking to represent all individuals
  27   employed by Home Depot as hourly non-exempt employees who worked in a
  28   California store on or after March 8, 2012. See Utne v. Home Depot, Case No. 3:16-
                                             2
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   1   cv-01854-RS (N.D. Cal.) (“Utne Action”), RJN, Ex. C. In his original complaint,
   2   Mr. Utne asserted four causes of action: (1) failure to pay hourly wages (Labor Code
   3   §§ 223, 510, 1194, 1197, 1997.1 and 1198), (2) failure to provide accurate written
   4   wage statements (Labor Code § 226(a)), (3) failure to timely pay all final wages
   5   (Labor Code § 203), and (4) Unfair Competition (Business & Professions Code §
   6   17200, et seq.). Id. Mr. Utne filed his First Amended Complaint on April 7, 2016,
   7   adding a fifth cause of action under the Private Attorneys General Act (“PAGA”),
   8   Labor Code §§ 2698, et seq. Id. Mr. Utne’s claims are premised on three primary
   9   theories: (1) Home Depot employees were required to work off-the-clock prior to the
  10   start of each shift, (2) Home Depot employees were subject to unfair rounding
  11   claims,1 and (3) Home Depot employees were locked-in the store after clocking out
  12   for the night while they waited for a manager to unlock the door. RJN, Ex. E.
  13         Home Depot removed Mr. Utne’s case to the Northern District of California
  14   on April 8, 2016. RJN, Ex. A. The operative Third Amended Complaint in the Utne
  15   Action includes the same five causes of action, all of which remain at issue following
  16   various dispositive motions filed by both sides. RJN, Ex. F.
  17         On March 30, 2018, the Honorable Richard Seeborg certified two classes in
  18   the Utne Action: (1) “[a]ll individuals employed by Home Depot in hourly-paid or
  19   non-exempt positions in California at any time since March 8, 2012,” and (2) “[a]ll
  20   individuals employed by Home Depot in hourly-paid or non-exempt positions in
  21   Home Depot stores in California at any time since March 8, 2012, and who worked
  22   at least one shift ending after the time that the Home Depot store was scheduled to
  23   close to the public for the evening.” RJN, Ex. D, at 1:19-22 (emphasis added).
  24         Mr. Utne and his counsel have been aggressively litigating the Utne Action for
  25   over six years, including, inter alia: (1) researching, drafting and filing the original
  26   complaint and the three subsequent amended complaints, (2) successfully defending
  27   1
        This claim was previously dismissed on summary judgment. See Utne Action,
  28   Doc. No. 74, at. 10:8-9.
                                             3
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   1   the complaint against various challenges to the pleadings, (3) sending out a Belaire
   2   West notice, (4) conducting and responding to comprehensive written discovery, (5)
   3   flying to Atlanta to take Home Depot’s Rule 30(b)(6) witnesses’ depositions, (6)
   4   interviewing dozens of putative class members and obtaining declarations from 47
   5   of them in support of the motion for class certification, (7) drafting, filing and arguing
   6   the motion for class certification, (8) successfully defending against Home Depot’s
   7   request for permission to appeal the class certification order in the Ninth Circuit, (9)
   8   successfully obtaining approval of the class notice, (10) overseeing distribution of
   9   the class notice to over 140,000 class members (of which only 16 opted out), (11)
  10   participating in Home Depot’s efforts to depose 25 of the class members who
  11   submitted declarations in support of the motion for class certification, as well as
  12   Mr. Utne’s deposition, (12) filing a motion for partial summary judgment, (13)
  13   opposing Home Depot’s motion for partial summary judgment, (14) retaining and
  14   designating four expert witnesses, many of whom submitted multiple reports in the
  15   Utne Action, (15) hiring Dr. Jon Krosnick to perform a large-scale telephone survey
  16   to obtain critical data after Home Depot destroyed existing video evidence in this
  17   case, (16) successfully obtaining an adverse jury instruction against Home Depot for
  18   its destruction of evidence, (17) deposing Home Depot’s four designated expert
  19   witnesses, (18) preparing for and defending Mr. Utne’s four designated expert
  20   witnesses at their depositions, and (19) overseeing and handling countless other
  21   procedural and administrative matters. RJN, Ex. 1; Setareh Decl., ¶¶ 3-39.
  22         To date, Mr. Utne and his counsel have incurred approximately three million
  23   dollars ($3,000,000) in out-of-pocket hard costs litigating the Utne Action, much of
  24   which was incurred as a direct result of trying to reconcile massive deficiencies in
  25   Home Depot’s time and pay records, as well as thousands of attorney and paralegal
  26   hours pursuing Mr. Utne’s and the certified class’ claims against Home Depot.
  27   Setareh Decl., ¶ 2; Saltzman Decl., ¶ 2.
  28   ///
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   1         Mr. Utne’s expert, Jon Krosnick, calculated nearly two billion dollars
   2   ($2,000,000,000) in exposure by Home Depot in the Utne Action, as follows:
   3                           Category                              Amount
        Claim 1: Unpaid wages, liquidated damages and                 ~ $114,000,000
   4    interest. (Labor Code §§ 223, 510, 1194, 1197, 1997.1
   5    and 1198).
        Claim 2: Unpaid wages, liquidated damages and                  ~ $42,000,000
   6    interest. (Labor Code §§ 223, 510, 1194, 1197, 1997.1
   7    and 1198).
        Waiting time penalties under Labor Code § 203 (with           ~ $287,000,000
   8    interest):
   9    Paystub penalties under Labor Code : §226 (with                ~ $93,500,000
        interest)
  10    PAGA penalties:                                             ~ $1,436,000,000
  11    Home Depot’s total exposure in Utne Action:                 ~ $1,972,500,000
  12         Setareh Decl., ¶¶ 36, Ex. 2.
  13         The Utne Action is scheduled for trial in July of this year. Setareh Decl., ¶ 39.
  14   No further continuances of the trial date are anticipated. Id.
  15         B. The Consolidated Actions
  16         Beginning in or around 2019 – approximately three (3) years after the Utne
  17   Action was filed – four other class action lawsuits were filed against Home Depot in
  18   various courts throughout California, alleging violations of California’s Labor Code
  19   and related causes of action: (1) Barragan v. Home Depot, N.D. Cal., Case No. 19-
  20   cv-01766-AJB-AGS (“Barragan Action”); (2) Davey v. Home Depot, N.D. Cal.,
  21   Case No. 20-cv-02541-AJB-AGS (“Davey Action”); (3) Sandoval v. Home Depot,
  22   N.D. Cal., Case No. 21-cv-00461-AJB-AGS (“Sandoval Action”); and (4) Flores v.
  23   Home Depot, N.D. Cal., Case No. 21-cv-00462-AJB-AGS (“Flores Action”)
  24   (collectively, the “Consolidated Actions”). See RJN, Exs. H, J & K.
  25         On October 6, 2021, in an effort to get all four of these cases to be deemed
  26   related and transferred to the Southern District of California, Home Depot argued to
  27   this Court that Barragan, Davey, Sandoval, and Flores: (i) “involve common
  28   questions of law and fact, and consolidation for the purposes of discovery and motion
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   1   practice will avoid unnecessary cost and delay for both the parties and the Court,”
   2   (ii) “involve similar legal issues, similar underlying facts, similar putative classes,
   3   and the same Defendant – Home Depot,” and (iii) “[a]ccordingly, discovery will
   4   involve many of the same facts, documents, and records, and involve depositions of
   5   many of the same witnesses.” RJN, Ex. J, at pp. 3, 7, & 10.
   6         On November 3, 2021, this Court granted Home Depot’s motion to consolidate
   7   the Barragan, Davey, Sandoval, and Flores Actions, finding, inter alia: “[a]s Home
   8   Depot points out, all cases involve similar factual and legal issues surrounding the
   9   same alleged misconduct by Home Depot between October 2015 and March 2020”,
  10   “… all four [c]ases involve named plaintiffs seeking to represent putative classes of
  11   current and former non-exempt Home Depot employees in California”, and “Davey,
  12   Flores, and Sandoval allege wage statement and waiting time penalty claims, while
  13   these claims were also alleged in Barragan but were dismissed.” RJN, Ex. K, at 4-5.
  14         Critically, Home Depot never filed a Notice of Related Cases in any of the
  15   Consolidated Actions identifying the Utne Action, despite its obligation to do so
  16   under Rule 40.1 of the Civil Local Rules for the Southern District of California.2 Nor
  17
       2
         S.D. Local Rule 40.1: “Notice of Related Case, Duties of Counsel. Whenever
  18   counsel has reason to believe that a pending action or proceeding on file or about to
  19   be filed is related to another pending action or proceeding on file in this or any other
       federal or State Court (whether pending, dismissed, or otherwise terminated),
  20   counsel must promptly file and serve on all known parties to each related action or
  21   proceeding a notice of related case, stating the title, number and filing date of each
       action or proceeding believed to be related, together with a brief statement of their
  22   relationship and the reasons why assignment to a single district judge is or is not
  23   likely to effect a saving of judicial effort and other economies. The Clerk will
       promptly notify the Court of such filing. This is a continuing duty that applies not
  24   only when counsel files a case with knowledge of a related action or proceeding
  25   but also applies after the date of filing whenever counsel learns of a related action
       or proceeding.”
  26
       “Definition of Related Action. An action or proceeding is related to another action
  27   or proceeding where both of them: (1) Involve some of the same parties and are
  28   based on the same or similar claims…”
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   1   did Home Depot file a Notice of Pendency of Other Action in the Utne Action
   2   identifying the Consolidated Actions, even though it was required to under Rule 3-
   3   13 of the Civil Local Rules for the Northern District of California.3 RJN, Ex. A.
   4         On March 14, 2022, Home Depot and the plaintiffs in the Consolidated
   5   Actions filed a Joint Report in the Barragan Action to continue deadlines due to a
   6   mediation scheduled for May 10, 2022, explaining:
   7
                   “On January 25, 2022, counsel for each of the related cases
                   participated in a conference call to discuss settlement and agreed
   8               to mediate the consolidated claims and to this end, agreed to stay
   9               all proceedings in all of the cases, including as to any further
                   formal discovery and class certification. Mediation is set for
  10               May 10, 2022, with Michael Dickstein.”
  11         RJN, Ex. N, at 5:16-20.
  12         As set forth in detail below, Mr. Utne and his counsel are informed and believe
  13   that Home Depot intends on settling out a signifianct portion of the damages and
  14   penalties asserted in the first-filed and long-certified Utne Action for pennies on
  15   the dollar at this May 10, 2022, mediation scheduled in the Consolidated Actions.
  16   See Setareh Decl., ¶ 50.
  17         C. The White Action
  18         On August 23, 2021, plaintiff Nyiesha White filed a class action complaint
  19   against Home Depot in the Superior Court of California for the County of Los
  20   Angeles, Case No. 21-ST-CV-31087. RJN, Ex. I. The Plaintiff in White pled causes
  21   of action for: (1) failure to pay wages for all hours worked in violation of Labor Code
  22   sections 1194 and 1197; (2) failure to pay overtime wages for daily overtime worked
  23
       3
  24     N.D. Local Rule 3-13: “Notice of Pendency of Other Action or Proceeding. (a)
  25
       Notice. Whenever a party knows or learns that an action filed or removed to this
       district involves all or a material part of the same subject matter and all or
  26   substantially all of the same parties as another action which is pending in any other
  27
       federal or state court, the party must promptly file with the Court in the action
       pending before this Court and serve all opposing parties in the action pending before
  28   this Court with a Notice of Pendency of Other Action or Proceeding.”
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   1   in violation of Labor Code sections 510 and 1194; (3) failure to authorize or permit
   2   meal periods in violation of Labor Code sections 512 and 226.7; (4) failure to
   3   authorize or permit rest periods in violation of Labor Code section 226.7; (5) failure
   4   to timely pay earned wages during employment in violation of Labor Code section
   5   204; (6) failure to provide complete and accurate wage statements in violation of
   6   Labor Code section 226; (7) failure to timely pay all earned wages and final
   7   paychecks due at time of separation of employment in violation of Labor Code
   8   sections 201, 202, and 203; and (8) unfair business practices, in violation of Business
   9   and Professions Code sections 17200, et seq. Id.
  10         Critically, the substantive allegations made in the White Action are virtually
  11   identical to the closing shift allegations in the Utne Action. Specifically, the Plaintiff
  12   in the White Action alleged:
  13                “Plaintiff and similarly situated hourly non-exempt employees
                    worked more minutes per shift than Defendants credited them
  14
                    with having worked. Defendants failed to pay Plaintiff and
  15                similarly situated employees all wages at the applicable
                    minimum wage for all hours worked due to Defendants' policies,
  16
                    practices, and/or procedures including, but not limited to, the
  17                following:
  18                       (a) "Rounding" down or "shaving" Plaintiff's and similarly
                    situated employees' total daily hours at the time of their clock-in
  19
                    and clock-out, including at the beginning and ending of meal
  20                periods, to the nearest quarter of an hour, to the benefit of
                    Defendants; and
  21
                           (b) Requiring Plaintiff and similarly situated employees
  22                who worked closing shifts to clock out for the end of their shift
  23                and, after clocking out, to gather at the front of Defendants'
                    stores, wait for all other employees working the closing shift to
  24                also assemble at the front of the store, wait for Defendants'
  25                management to arm the store alarm system, and. then exit the
                    store with all of the other closing shift employees into the parking
  26                lot prior be being relieved of all duty. Defendants' closing shift
  27                policy results in Plaintiff and similarly situated employees who
  28
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   1                worked closing shifts being subject to the exercise and control
   2                and direction of the Defendants while off the clock.”

   3                RJN, Ex. I, at ¶ 15.
   4         Thus, the factual allegations in the White Action are identical to two of the
   5   three factual basis for the claims asserted in the Utne Action: (i) Home Depot’s
   6   rounding policy (dismissed by the Utne Court on summary adjudication), and (ii)
   7   Home Depot’s practice of locking-in its employees after they clock-out for the
   8   evening when their shifts end after store closing. See RJN, Ex. F, at ¶¶ 33-38.
   9         On or around November 5, 2021, Home Depot removed the White Action to
  10   the District Court for the Central District of California. RJN, Ex. B. On January 19,
  11   2022, Home Depot filed a Motion to Dismiss, Stay, or Transfer Based on the First-
  12   to-File Rule (“Motion to Dismiss”). RJN, Ex. L. In its Motion to Dismiss, Home
  13   Depot first summarized the claims asserted in each of the pending Consolidated
  14   Actions and in the White Action, and then argued to this Court: “[a]s shown below,
  15   the White Action alleges substantially similar claims on behalf of substantially
  16   similar putative classes against the same defendant, Home Depot.” Id., at pp. 2-7.
  17         Home Depot further argued:
  18                “Here, the Barragan, Davey, Sandoval, and Flores Consolidated
                    Actions and the White Action all involve Home Depot as a
  19                defendant. Accordingly, the defendants are the same in all
  20                actions. The Consolidated Actions and the White Action also
                    involve a dispute between Home Depot and a putative class of
  21
                    nonexempt employees in California. Finally, classes and
  22                subclasses in the Consolidated Actions include Plaintiff White
                    and the putative class she seeks to represent.”
  23
              Id., at 10:14-21 (emphasis added).
  24

  25         Home Depot continued: “[t]he similarity of issues requirement is met because
  26   Plaintiff’s copy-cat putative class action alleges claims that substantially are
  27   identical to those asserted in the Barragan, Davey, Sandoval, and Flores
  28   Consolidated Actions.” Id., at 10:23-25 (emphasis added). Critically, Home Depot’s
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   1   Motion to Dismiss, Stay or Transfer the White Action Based on the First-to-File Rule
   2   makes no mention of the Utne Action, despite the fact that the Utne Action was
   3   clearly filed years before any of the Consolidated Actions. See id..
   4         On February 22, 2022, Home Depot and plaintiff Nyiesha White (“Ms.
   5   White”) filed a Stipulation to Transfer and Vacate Hearing Date [for the Motion to
   6   Dismiss] (“White Stipulation”), in which Home Depot represented to this Court that
   7   “[o]n December 10, 2021, and in email communications thereafter, the parties met
   8   and conferred pursuant to Local Rule 7-3 to discuss the consolidated actions pending
   9   in the Southern District of California [,]… and how the claims and putative classes
  10   in the Consolidated Actions overlapped those in this Action.” RJN, Ex. M (emphasis
  11   added). Shortly thereafter, the Court granted the White Stipulation, and transferred
  12   the White action from the Central District of California to this Court. See id.
  13         Critically, Home Depot never filed a Notice of Related Cases in the White
  14   Action identifying the Utne Action, despite the clear overlap between the two cases,
  15   and despite its obligation to do so under Rule 40.1 of the Civil Local Rules for the
  16   Southern District of CaliforniaError! Bookmark not defined.. RJN, Ex. B. Nor did
  17   Home Depot ever file a Notice of Pendency of Other Action or Proceeding in the
  18   Utne Action identifying the White Action, even though it was required to do so
  19   under Rule 3-13 of the Civil Local Rules for the Northern District of California.
  20   RJN, Ex. A.
  21         D. The Parties’ Meet-and-Confer Efforts
  22         Home Depot never informed Mr. Utne or his counsel of the existence of the
  23   Consolidated Actions or the White Action. Setareh Decl., ¶ 39. Rather, Mr. Utne’s
  24   counsel uncovered it on their own after Home Depot’s counsel in the Utne Action
  25   suspected something was amiss. See id.
  26         Upon independently learning of the existence of these other actions, on March
  27   24, 2022, Mr. Utne’s counsel met and conferred with Home Depot’s counsel, asking
  28   why Home Depot never disclosed the Utne Action in any of the Consolidated Actions
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   1   or the White Action. Setareh Decl., ¶ 45, Ex. 3. Shortly thereafter, Mr. Utne’s counsel
   2   and counsel for Home Depot in the Utne Action held a telephonic meet-and-confer
   3   conference. See id. ¶49, Ex. 7. During the meet-and-confer conference, the parties
   4   agreed that Mr. Utne’s counsel would circulate a stipulation to Home Depot’s counsel
   5   addressing the issues raised by Mr. Utne’s counsel, and if Home Depot signed the
   6   stipulation agreeing not to settle out any of the claims pending in Mr. Utne’s certified
   7   class action, the issue would become moot. See id., at ¶ 48, Ex. 6.
   8         Mr. Utne’s counsel sent Home Depot’s counsel in the Utne Action a proposed
   9   stipulation asking Home Depot to agree that it would not settle out any claims
  10   asserted on behalf of the certified class in the Utne Action. Id., at ¶ 48, Ex. 6. Home
  11   Depot declined to agree to this request, and instead proposed as follows:
  12                a.      Home Depot will not enter into any settlement in these
                            other actions that resolves claims on behalf of any existing
  13
                            member of the Utne class for failure to pay hourly wages
  14                        for time allegedly spent waiting to exit Home Depot’s
                            stores following the end of their shift (see ECF No. 56 at
  15
                            ¶¶ 19-36) (Cal. Lab. Code §§ 223, 510, 1194, 1197 and
  16                        1198);4 and
                    b.      To the extent Home Depot executes a formal settlement
  17
                            agreement in any of these other cases, and to the extent
  18                        such settlement releases any claims on behalf of
                            employees who worked in Home Depot stores in
  19
                            California from 2012 to the present, Home Depot will
  20                        promptly notify class counsel in Utne of any such
  21
                            settlement, except to the extent the settlement reached is
                            an individual settlement that resolves only the claims of
  22                        the named plaintiffs in those other actions.”
  23                Id., at 49. Ex. 7.
  24         From this communication, it is clear that Home Depot intends on settling some

  25   or all of the certified claims asserted by Mr. Utne in the Utne Action at the upcoming

  26   May 10, 2022, mediation in the Consolidated Actions. See id.

  27   4
        Critically, this offer does not include the related Labor Code section 203 and/or
  28   226 penalities, which total approximately $500,000,000 in the Utne Action.
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   1   ///
   2   III.   APPLICABLE LEGAL STANDARD
   3          As the Ninth Circuit held, a proposed intervener “has a sufficient interest for
   4   intervention purposes if it will suffer a practical impairment of its interests as a result
   5   of the pending litigation.” California ex rel Lockyer v. United States, 450 F.3d 436,
   6   441 (9th Cir. 2006). District Courts have recognized that settlement of potentially
   7   overlapping claims provides such an interest. See e.g., Hilsey v. General Mills, Inc.,
   8   2021 WL 2290782 *8 (S.D. Cal. 2021). Further, the U.S. Supreme Court has
   9   recognized the right of absent class members to intervene to protect their own
  10   interests. See Deposit Guaranty National Bank v. Roper, 445 U.S. 326, 331 (1980).
  11          Intervention is governed by Rule 24 of the Federal Rules of Civil Procedure,
  12   which “traditionally receives liberal construction in favor of applicants for
  13   intervention.” Arakaki v. Cayetano, 324 F.3d 1078, 1083 (9th Cir. 2003), as amended
  14   (May 13, 2003), citing Donnelly v. Glickman, 159 F.3d 405, 409 (9th Cir.1998).
  15   Courts are guided primarily by practical and equitable considerations. Id. Courts are
  16   to take all well-pleaded, nonconclusory allegations in the motion to intervene as true
  17   absent sham, frivolity or other objections. In re Novatel Wireless Sec. Litig., No. 08-
  18   CV-1689 AJB RBB, 2014 WL 2858518, at *2 (S.D. Cal. June 23, 2014), amended
  19   in part, No. 08-CV-1689 AJB RBB, 2014 WL 3341049 (S.D. Cal. July 8, 2014),
  20   citing Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d 810, 820 (9th Cir.2001).
  21   IV.    ANALYSIS
  22          A. Mr. Utne is Entitled to Intervene Under Rule 24(a)
  23          A party seeking to intervene as of right must meet four requirements: (1) the
  24   applicant must timely move to intervene; (2) the applicant must have a significantly
  25   protectable interest relating to the property or transaction that is the subject of the
  26   action; (3) the applicant must be situated such that the disposition of the action may
  27   impair or impede the party's ability to protect that interest; and (4) the applicant's
  28   interest must not be adequately represented by existing parties. Arakaki, 324 F.3d at
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   1   1083, citing Donnelly, 159 F.3d at 409. As set forth in detail below these four
   2   requirements are satisfied here, and thus Mr. Utne is entitled to intervene in the
   3   Consolidated Actions and the White Action as a matter of right. See e.g. League of
   4   United Latin Am. Citizens v. Wilson, 131 F.3d 1297, 1302 (9th Cir.1997).
   5                   1. The Motion to Intervene is Timely
   6         In determining whether a motion for intervention is timely, the Ninth Circuit
   7   considers three factors: “(1) the stage of the proceeding at which an applicant seeks
   8   to intervene; (2) the prejudice to other parties; and (3) the reason for and length of
   9   the delay.” League of United Latin Am. Citizens, 131 F.3d at 1302, citing County of
  10   Orange v. Air California, 799 F.2d 535, 537 (9th Cir.1986). In performing this
  11   analysis, the Court evaluates these factors in relation to the point at which the
  12   proposed intervener first had knowledge of the facts warranting intervention. See e.g.
  13   In re Novatel Wireless Sec. Litig., 2014 WL 2858518, at *3, citing Glass v. UBS Fin.
  14   Serv., Inc., 2007 WL 474936, at *3 (N.D.Cal. Jan. 17, 2007); see also United States
  15   v. Carpenter, 298 F.3d 1122, 1125 (9th Cir.2002).
  16         “While the length of time that has passed since a suit was filed is not, in and
  17   of itself, determinative of timeliness, ‘[a] party seeking to intervene must act as soon
  18   as he knows or has reason to know that his interests might be adversely affected by
  19   the outcome of the litigation.’ California Dept. of Toxic Substances Control v.
  20   Commercial Realty Projects, 309 F.3d 1113, 1120 (9th Cir.2002) (internal citation
  21   omitted). Here, on March 14, 2022, Home Depot notified this Court that: “[t]he
  22   Parties submit that the [White] action should be coordinated or consolidated with the
  23   [] Consolidated Actions [and] [t]he Consolidated Actions are currently scheduled for
  24   mediation on May 10, 2022.” RJN, Ex. N. Mr. Utne and his counsel: (i) first learned
  25   of this request for consolidation approximately two weeks later on or around March
  26   24, 2022, (ii) immediately met-and-conferred with Home Depot’s counsel and
  27   various plaintiffs’ counsel, and (iii) upon learning that the meet-and-confer efforts
  28   would not adequately protect Mr. Utne or the certified class’ interests, (iv) filed the
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   1   current Motion to Intervene on April 13, 2022. Under these circumstances, it cannot
   2   be said that there was any delay in seeking to intervene. See e.g. In re Novatel
   3   Wireless Sec. Litig., 2014 WL 2858518, at *4-5, citing California Dept. of Toxic
   4   Substances Control, 309 F.3d at 1120 (holding that a five month delay by a pro se
   5   litigant did not constitute impermissible delay).
   6         Moreover, no party will be prejudiced if intervention is permitted. To the
   7   contrary, intervention is required to prevent Home Depot from improperly benefitting
   8   from its own malfeasance. Home Depot knew that the Utne Action was the first filed,
   9   yet it repeatedly misrepresented to this Court that the Barragan Action was the first
  10   filed in an effort to combine the Consolidated Actions in the Southern District when
  11   they properly should have been sent to the Northern District under the first-to-file
  12   rule. See RJN, Ex. L. In fact, to the best of Mr. Utne’s counsel’s knowledge, Home
  13   Depot never even informed this Court of the existence of the Utne Action. Setareh
  14   Decl., ¶ 39. Nor did Home Depot notify Mr. Utne or his counsel of the existence of
  15   the Consolidated Actions or the White Action, and instead, Mr. Utne’s counsel
  16   discovered these actions on their own after becoming suspicious of Home Depot’s
  17   counsel’s conduct. Id. In doing so, Home Depot knowingly violated the Local Rules
  18   of the Southern and Northern Districts of California. N.D. Local Rule 3-13.
  19         Thus, intervention is required to rectify the harm Home Depot’s improper
  20   conduct has caused to Mr. Utne and the certified class of approximately 140,000
  21   Home Depot employees, who have nearly two billion dollars ($2,000,000,000) in
  22   damages, penalties and interest, a significant portion of which is being threatened by
  23   Home Depot’s wrongful conduct. See Setareh Decl., ¶ 36, Ex. 2.
  24                   2. The Certified Class in the Utne Action Has a Significant
                          Protectable Interest Relating to the Subject of the
  25
                          Consolidated Actions and White Action
  26         Mr. Utne represents a certified class of approximately 140,000 people who
  27   were employed by Home Depot in California from March 8, 2012, to the present,
  28
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   1   with respect to claims valued at nearly two billion dollars ($2,000,000,000) for Home
   2   Depot’s: (1) failure to pay hourly wages (Labor Code §§ 223, 510, 1194, 1197,
   3   1997.1 and 1198), (2) failure to provide accurate written wage statements (Labor
   4   Code § 226(a)), (3) failure to timely pay all final wages (Labor Code § 203), (4)
   5   violation of the Unfair Competition laws (Business & Professions Code § 17200, et
   6   seq.), and (5) violation of the Private Attorneys General Act (“PAGA”), Labor Code
   7   §§ 2698, et seq.. Doc. No. 56. Mr. Utne therefore possesses a “significantly
   8   protectable interest relating to the property or transaction that is the subject of the
   9   action.” RJN, Exs. D & F; Setareh Decl., ¶ 36, Ex. 2; Fed. R. Civ. Proc. 24(a).
  10
                      3. Disposition of the Consolidated Actions and the White
                          Action Will Impair Mr. Utne’s Ability to Protect the
  11                      Interests of the Certified Class He Represents
  12         As set forth in detail above, Mr. Utne currently represents a certified class of
  13   approximately 140,000 people who were employed by Home Depot in California
  14   from March 8, 2012, to the present, with respect to claims valued at nearly two billion
  15   dollars ($2,000,000,000). Setareh Decl., ¶ 36, Ex. 2. Many of these claims overlap
  16   the claims asserted by the various plaintiffs in the Consolidated Actions and the
  17   White Action. For example, the plaintiff in the White Action bases her claims in large
  18   part on lock-in time, which is one of the two factual predicates for the claims asserted
  19   by Mr. Utne in his lawsuit. RJN, Ex. I. And, the plaintiffs in all the cases are asserting
  20   claims for unpaid wages under various Labor Code sections, as well as derivative
  21   Labor Code sections 203 and 226 penalties. Id.; see also RJN, Ex. G. Because these
  22   other actions were filed after the Utne Action, the vast majority of the class members
  23   (or putative class members, as the case may be) in these other pending actions are
  24   also members of the certified class in the Utne Action. See RJN, Ex. D. Thus, if
  25   Home Depot is permitted to settle out their claims in these other actions, it will likely
  26   wipe out their much more valuable claims in the Utne Action.
  27

  28
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   1         This is not just conjecture or speculation. This is Home Depot’s plan. As set
   2   forth in detail above, when Mr. Utne’s counsel learned of the existence of these other
   3   actions and Home Depot’s affiliated wrongful conduct in seeking to keep these
   4   actions separate from one another, Mr. Utne’s counsel reached out to Home Depot in
   5   an effort to resolve this issue without involving the Courts. Setareh Decl., ¶ 45, Ex.
   6   3. In doing so, Mr. Utne’s counsel asked Home Depot’s counsel to agree that it would
   7   not settle out any of the claims pending on behalf of the certified class in the Utne
   8   Action at the upcoming mediation in the Consolidated Actions. Id., ¶ 48, Ex. 6.
   9   Home Depot and its counsel refused. Setareh Decl., ¶ 49, Ex. 7. Thus, disposition of
  10   the Consolidated Actions and the White Actions will impair and impede Mr. Utne’s
  11   ability to protect his interests and the interests of the class he represents in nearly
  12   $2,000,000,000 in damages, penalties and interest. See id.
  13
                      4. The Interests of the Class in the Utne Action Will Not be
                         Adequately Represented by the Existing Parties
  14
             In determining the adequacy of representation, the Ninth Circuit considers: (1)
  15   whether the interest of a present party is such that it will undoubtedly make all of a
  16   proposed intervener’s arguments; (2) whether the present party is capable and willing
  17   to make such arguments; and (3) whether a proposed intervener would offer any
  18   necessary elements to the proceeding that other parties would neglect. California v.
  19   Tahoe Reg'l Planning Agency, 792 F.2d 775, 778 (9th Cir.1986).
  20         As set forth in detail in the concurrently filed declaration of Shaun Setareh,
  21   Mr. Utne and his counsel have spent over six years, thousands of attorney hours, and
  22   approximately three million dollars ($3,000,000) in out-of-pocket hard costs
  23   litigating their certified class claims against Home Depot. Setareh Decl., ¶¶ 2-39;
  24   Saltzman Decl., ¶ 2. They have overcome motions for summary judgment. See id.
  25   They have obtained and analyzed extensive time and pay records from Home Depot.
  26   Id., ¶ 6. They have hired a world-renowned expert to conduct a survey in an effort to
  27   compensate for Home Depot’s knowing destruction of critical video evidence, which
  28   resulted in an adverse jury instruction sanction issued against Home Depot. Id. ¶¶ 31-
                                            16
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   1   33; RJN, Ex. A, Doc. No. 160. There are currently two additional sanctions motions
   2   pending against Home Depot in the Utne Action, including motions to exclude Home
   3   Depot’s key expert witness, and for terminating sanctions. RJN, Ex. A, Doc Nos. 240
   4   & 244. And, their claims pre-date any of the claims raised in the Consolidated
   5   Actions or the White Action by at least three years, and therefore include extensive
   6   damages that simply are not available in these other actions. See RJN, Ex. C & G.
   7         Thus, Mr. Utne respectfully submits that he is in a very different position than
   8   the plaintiffs in the Consolidated Actions and/or in the White Action in that he has
   9   numerous additional resources, information and leverage available to him that
  10   provide him with: (1) additional legal and factual arguments beyond what is available
  11   to the plaintiffs in the Consolidated Actions and/or the White Action, (2) different
  12   incentives and settlement ranges than counsel in these other actions, likely rendering
  13   them unwilling to advance certain arguments or positions that Mr. Utne and his
  14   counsel are prepared to advance, and (3) a considerable amount of leverage that does
  15   not exist in the other pending actions. See also California, 792 F.2d at 778. Under
  16   such circumstances, Mr. Utne should be permitted to intervene as a matter of right.
  17   See Fed. R. Civ. Proc. 24(a).
  18         B. Mr. Utne Should Also be Permitted to Intervene Under Rule 24 (b) on
                Behalf of the Certified Class He Represents
  19

  20         While intervention as of right is proper here, in the alternative the standards
  21   for permissive intervention under Fed. R. Civ. P. 24(b) are also met.
  22         Pursuant to Rule 24 (b)(2) intervention is permissible by any person who “has
  23   a claim or defense that shares with the main action a common question of law or
  24   fact.” Clearly that is true as to the White Action as the claims and factual predicates
  25   between the White Action and the Utne Action are nearly identical. Compare RJN,
  26   Exs. F & I. And Home Depot asserts that the White Action is a “copycat” of the
  27   Consolidated Actions. White Action, Doc. No. L, at 10:23-25 (“[t]he similarity of
  28   issues requirement is met because Plaintiff’s copy-cat putative class action alleges
                                            17
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   1   claims that substantially are identical to those asserted in the Barragan, Davey,
   2   Sandoval, and Flores Consolidated Actions.”); see also RJN, Ex. L, at 12:10-14
   3   (“…the White Action is substantially similar – and, in fact, almost entirely subsumed
   4   within – the Consolidated Actions currently pending in the Southern District.
   5   Because the claims in the Consolidated Actions overlap the claims in the White
   6   Action, the actions involve sufficiently similar issues to justify a stay.”). Thus, the
   7   first requirement for permissive intervention – that Mr. Utne has a claim or defense
   8   that shares with the main action a common question of law or fact – is satisfied here.
   9          Rule 24 (b) (3) also requires the Court to consider any potential prejudice. As
  10   discussed in detail above, intervention is required to prevent undue prejudice to Mr.
  11   Utne and the class he seeks to represent. See Section IV(A)(3), supra. Moreover,
  12   there is no prejudice as the White Action should have been transferred to the Northern
  13   District under the first to file rule, and likely would have been if Home Depot had
  14   identified Utne – the actual first filed case – as the first filed case.
  15
              C. Mr. Utne’s Counsel Should be Appointed as Interim Class Counsel
                 for Any Claims that Overlap with the Utne Action
  16
              As set forth in detail above, on March 30, 2018, the Honorable Richard
  17
       Seeborg certified two classes in the Utne Action: (1) “[a]ll individuals employed by
  18
       Home Depot in hourly-paid or non-exempt positions in California at any time since
  19
       March 8, 2012,” and (2) “[a]ll individuals employed by Home Depot in hourly-paid
  20   or non-exempt positions in Home Depot stores in California at any time since March
  21   8, 2012, and who worked at least one shift ending after the time that the Home Depot
  22   store was scheduled to close to the public for the evening.” RJN, Ex. D. The
  23   plaintiffs in the Consolidated Actions and the White Action are generally members
  24   of the class in the Utne Action, received notice of the Utne Action, and did not opt
  25   out.5 Setareh Decl., ¶¶ 21-22. Thus, counsel in the Utne Action already represent
  26   them with respect to the certified claims in the Utne Action. See id.
  27
       5
        There are two possible exceptions: (1) named plaintiff in the Barragan Action, Jeremy Burcham,
  28   may or may not be the same person as “Larry J. Burcham”, who is a member of the Utne Class,
                                                      18
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   1          Home Depot and its counsel have nevertheless indicated that they intend on
   2   settling out some of the certified claims of class members in the Utne Action during
   3   the upcoming mediation of the Consolidated Actions. Setareh Decl., ¶ 49, Ex. 7.
   4   Thus, out of an abundance of caution, Mr. Utne’s counsel seek to be appointed
   5   interim class counsel in the Consolidated Actions and in the White Action with
   6   respect to only those non-certified claims and damages that overlap with the Utne
   7   Action, including but not limited to: (i) Labor Code § 203 damages and penalties,
   8   (ii) Labor Code § 226 damages and penalties, (iii) PAGA penalties, and (iv) relief
   9   under Business & Professions Code § 17200 et seq. See Fed. R. Civ. P. 23(g)(3).
  10          “Instances in which interim class counsel is appointed are those in which
  11   overlapping, duplicative, or competing class suits are pending before a court, so that
  12   appointment of interim counsel is necessary to protect the interests of class
  13   members.” White v. TransUnion LLC, 239 F.R.D. 681, 683 (C.D. Cal 2006).
  14   Granting Mr. Utne’s counsel interim class counsel status would be consistent with
  15   the principle that “federal courts (should) apply principles of comity to each other’s
  16   class certification decisions when addressing a common dispute.” Smith v. Bayer,
  17   131 S.Ct. 2368, 2382 (2011).
  18          In making that determination the Court may consider the factors contained in
  19   Federal Rule of Civil Procedure 23(g)(1). Dependable Component Supply Corp. v.
  20   Murata Manufacturing Co., Ltd., 2018 WL 3388548 *2 (N.D. Cal. 2018). Those
  21   factors are: “(i) the work counsel has done in identifying or investigating potential
  22   claims in the action; (ii) counsel’s experience in handling class actions, other
  23   complex litigation, and the other types of claims asserted in the action; (iii) counsel’s
  24   knowledge of the applicable law; and (iv) the other resources that counsel will
  25   commit to representing the class.” Fed. R. Civ. Proc. 23(g)(1)(A).
  26

  27   and (2) there are three people named “Janelley” who received class notice in the Utne Action and
       did not opt out, but none have the last name “Sandoval. It is unclear whether Ms. Sandoval used
  28   a different last name (e.g. a maiden name) while working for Home Depot. Setareh Decl., ¶ 22.
                                                        19
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   1         A balancing of these factors weighs heavily in favor of appointing Mr. Utne’s
   2   counsel as interim class counsel with respect to any claims asserted in the
   3   Consolidated Actions and/or the White Action that overlaps with the certified claims
   4   and/or damages sought in the Utne Action. First, Mr. Utne’s counsel has done a
   5   tremendous amount of work in identifying and investigating the claims in the action.
   6   See Section II.A, supra. Second, Mr. Utne’s counsel is very experienced in handling
   7   class actions and other complex litigation, as set forth in the concurrently filed
   8   attorney declarations. See Setareh Decl., ¶¶ 40-44; Saltzman Decl., ¶¶ 3-10. Third,
   9   Mr. Utne’s counsel is extremely knowledgeable about the applicable law, as
  10   evidenced by their experience, as well as the successes they have obtained while
  11   litigating the Utne Action over the course of the past six years. See id.; see also
  12   Section II.A, supra. Finally, Mr. Utne’s counsel has committed extensive resources
  13   to pursuing these claims, including thousands of attorney hours and nearly
  14   $3,000,000 in out-of-pocket hard costs. Setareh Decl., ¶¶ 2-39; Saltzman Decl., ¶ 2.
  15         Under these circumstances, Mr. Utne and his counsel respectfully submit that
  16   they should be appointed interim class counsel in the Consolidated Actions and the
  17   White Action with respect to any claims or damages that overlap with those asserted
  18   in the Utne Action. See Fed. R. Civ. Proc. 23(g)(1)(A).
  19         D. The White Action and the Consolidated Actions Should be Stayed –
                Including for Purposes of Settlement – Pending Resolution of the
  20
                Utne Action, or in the Alternative, Transferred to the Northern
  21            District of California
  22         As Home Depot argued in its Motion to Dismiss, Stay, or Transfer based on
  23   the First-to File Rule (“Motion to Dismiss”):
  24               “In the Ninth Circuit, the first-to-file rule is “a generally
                   recognized doctrine of federal comity which permits a district
  25
                   court to decline jurisdiction over an action when a complaint
  26               involving the same parties and issues has already been filed in
                   another district.” Pacesetter Sys., Inc. v. Medtronic, Inc., 678
  27
                   F.2d 93, 94- 95 (9th Cir. 1982). This well-established rule allows
  28               a district court to dismiss, stay, or transfer an action “when a
                                           20
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   1                similar complaint has already been filed in another federal
   2                court.” Alltrade, Inc. v. Uniweld Prods., Inc., 946 F.2d 622, 623
                    (9th Cir. 1991) (staying later-filed case); see also Pacesetter, 678
   3                F.2d at 97 (dismissing later-filed case); Wallerstein v. Dole Fresh
   4                Vegetables, Inc., 967 F. Supp. 2d 1289, 1297 (N.D. Cal. 2013)
                    (transferring action to the district court in which first-filed case
   5                was pending to promote judicial efficiency and avoid possible
   6                conflicting judgments, where both actions had overlapping
                    claims and class periods, and “a significant portion of discovery
   7                in the actions will be duplicative”); see also Flores v. Home
   8                Depot, Case No. 21-cv-00461-AJB-AGS, Dkt. No. 15
                    (transferring later-filed cases against Home Depot); Sandoval v.
   9                Home Depot, Case No. 21-cv-00461-AJB-AGS. [].
  10                The underlying purposes of the first-to-file rule are to avoid
  11                duplicative litigation and promote judicial efficiency, which
                    “should not be disregarded lightly.” Inherent.com v.
  12                Martindale-Hubbell, 420 F. Supp. 2d 1093, 1097 (N.D. Cal.
  13                2006); Key Equip. Fin. v. Fed. Express Corp., No. CV 14-7534-
                    GW-AGRx, 2014 WL 12966963 (C.D. Cal. Dec. 18, 2014);
  14                Alltrade, 946 F.2d at 925.
  15                To further these purposes, “the court which first acquired
  16
                    jurisdiction should try the lawsuit and no purpose would be
                    served by proceeding with a second action.” Pacesetter, 678
  17                F.2d at 95. Accordingly, “unless compelling circumstances
  18
                    justify departure from this rule,” the first-filed case “should be
                    permitted to proceed without concern about a conflicting order
  19                being issued in the later filed action.” Ward v. Follett Corp.,
  20                158 F.R.D. 645, 648-50 (N.D. Cal. 1994).
                    Courts applying the first-to-file rule look to three threshold
  21
                    factors: (1) the chronology of the actions (i.e., which action was
  22                filed first); (2) the similarity of the parties; and (3) the similarity
                    of the issues. Alltrade, 946 F.2d at 625-26. If all three factors are
  23
                    met, the district court can dismiss, stay, or transfer the later-filed
  24                action.”
  25         RJN, Ex. L, at 8:3-9:6 (emphasis added).
  26         Here, all three factors strongly indicate that the Consolidated Actions and the
  27   White Action should be stayed (including for purposes of settlement) or transferred
  28   to the Northern District of California.
                                            21
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   1         First, the Utne Action was clearly the first case filed:
   2   ///
   3                          Case Name                   Date Filed
   4                  Utne Action                         March 8, 2016
   5                  Barragan Action                   August 12, 2019
   6                  Davey Action                          June 9, 2020
   7                  Sandoval Action                  January 31, 2020
   8                  Flores Action                        June 23, 2020
   9                  White Action                      August 23, 2021
  10
             Second, the named Plaintiffs in the Consolidated Actions and the White Action
  11
       are likely all members of the certified class in the Utne Action, and all six cases are
  12
       against the same defendant (Home Depot). See Setareh Decl., ¶¶ 21-22.
  13
             Third, the Utne Action and the White Action deal with extremely similar
  14
       issues, including overlapping claims asserted, factual grounds for those claims, and
  15
       the damages sought. Compare RJN, Exs. F & I (both seek damages in connection
  16
       with lock-in claims and rounding time claims for California employees).
  17
             And, according to Home Depot, the White Action and the Consolidated
  18
       Actions involve the same issues:
  19
                   “The similarity of issues requirement is met because Plaintiff’s
  20               copy-cat putative class action alleges claims that substantially are
                   identical to those asserted in the Barragan, Davey, Sandoval, and
  21               Flores Consolidated Actions. Under the first-to-file rule, the
                   issues in the actions need not be identical so long as the issues
  22               are substantially similar. [].
                   Here, the Consolidated Actions and the White Action involve
  23               substantially similar claims. The Consolidated Actions involve
                   allegations that Home Depot failed to pay minimum wage, failed
  24               to pay overtime, failed to provide meal and rest periods, failed to
                   timely pay wages, and failed to provide accurate wage statements
  25               to non-exempt employees in California. Plaintiff here asserts
                   these same claims. Allowing Plaintiff’s action to proceed and
  26               adjudicating the same issues that are part of the four already
                   pending Consolidated Actions would impede judicial efficiency
  27               and run a significant risk of conflicting judgments, two principles
                   that run contrary to the first-to-file rule. Because Plaintiff’s
  28               claims are subsumed in claims alleged in the Barragan, Davey,
                                            22
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   1                Sandoval, and Flores Consolidated Actions, this action should be
                    dismissed, stayed, or transferred under the first-to-file rule.
   2
             Thus, by the transitive properties, the Utne Action, the White Action, and the
   3
       Consolidated Actions all involve “similar issues.” See id.
   4
             Fourth, as Home Depot further noted in its Motion to Dismiss, equitable
   5
       considerations can also inform a Court’s decision as to whether to grant the relief
   6
       requested. RJN, Ex. L, at 11:16-12:21. Here, the equities strongly favor staying
   7
       and/or transferring the Consolidated Actions and the White Action to the Northern
   8
       District of California. As set forth in detail above, Home Depot: (i) knowingly and
   9
       intentionally violated the Local Rules of this Court by failing to file a Notice of
  10
       Related Cases identifying the Utne Action, (ii) made material misrepresentations
  11
       and/or omissions to this Court when it stated that Barragon was the first filed action
  12
       without ever mentioning the Utne Action, (iii) violated the Local Rules for the
  13
       Northern District of California when it failed to file a Notice of Pendency of Action
  14
       in the Utne Action, which would have informed the Court and Mr. Utne’s counsel of
  15
       the existence of the Consolidated Actions and the White Action, (iv) acted in bad
  16
       faith by scheduling a mediation with the plaintiffs in the Consolidated Actions in an
  17
       effort to settle many of the claims raised in the Utne Action without notifying
  18
       appointed class counsel in the Utne Action, and (v) when confronted with such
  19
       information, refused to carve out the claims asserted in the Utne Action from the
  20
       upcoming mediation. See Section II, supra. To the extent the Court is inclined to
  21
       consider the equities, they weigh heavily in favor of granting the relief requested.
  22
             Thus, based on Home Depot’s own arguments and logic, the White Action and
  23
       the Consolidated Actions should be stayed - including for purposes of settlement –
  24
       pending resolution of the Utne Action, or in the alternative, transferred to the
  25
       Northern District of California.
  26
             E. Practical Considerations Mandate the Relief Sought
  27
             Home Depot’s specious efforts to keep the Utne Action isolated from the
  28
                                            23
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   1   Consolidated Actions/White Action has created quite the quagmire. There are
   2   countless procedural and substantive problems created by Home Depot’s conduct.
   3         For example, what happens if there is a verdict against Home Depot in the
   4   Utne Action following trial this summer, while at the same time, Home Depot seeks
   5   approval of a settlement of the same claims in the Consolidated Actions?
   6         Or, what happens if Judge Seeborg grants Mr. Utne’s pending Motion for
   7   Terminating Sanctions, and at the same time the plaintiffs in the Consolidated
   8   Actions seek Court approval of a settlement reached during mediation?
   9         There is also a substantial question as to whether the certified claims in the
  10   Utne Action can even be settled by any other counsel in light of Judge Seeborg’s
  11   order appointing Mr. Utne’s counsel as class counsel for the claims asserted in the
  12   Utne Action, including, for example, the Labor Code section 203 and 226 claims for
  13   the approximately 140,000 class members in the Utne Action.
  14         And, as to the Labor Code section 203 and 226 claims, if those claims are
  15   settled in the Consolidated Action– even if based on different facts – Home Depot
  16   will argue in the Utne Action that class members cannot receive multiple penalties,
  17   thus potentially depriving members of the certified class in the Utne Action hundreds
  18   of millions of dollars in damages and penalties. This is an unsettled legal issue, that
  19   would require resolution here if relief is not granted. See Lao v. H&M Hennes &
  20   Mauritz, L.P., 2017 WL 4808814, at *4 (N.D. Cal. Oct. 25, 2017).
  21         Further, Utne was filed in 2016, meaning that the limitations period goes back
  22   to 2012. The earliest filed Consolidated Action is Barragan, which was filed on
  23   August 12, 2019. The Barragan plaintiffs cannot represent any claims that arose prior
  24   to August 12, 2015, and any settlement in the Consolidated Actions which went back
  25   to 2012 would be highly suspect because it would be a settlement of claims that the
  26   plaintiffs simply have no ability to represent in the first place. This reasoning also
  27   applies to any derivative Labor Code section 203 and/or section 226 claims.
  28         These are just a few of the many examples of the complex issues created by
                                            24
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   1   Home Depot’s improper conduct, thus further supporting the relief Mr. Utne seeks.
   2   V.    CONCLUSION
   3         Judge Seeborg appointed Mr. Utne and his counsel as representatives of the
   4   approximately 140,000 people employed by Home Depot in California since 2012,
   5   who suffered damages as a result of Home Depot’s alleged illegal employment
   6   practices. The pending Consolidated Actions and White Action pose a very real and
   7   continuing threat to their ability to adequately represent the class Judge Seeborg
   8   tasked them with representing. Mr. Utne therefore respectfully requests this Court
   9   grant this motion in its entirety.
  10

  11
       Dated: April 13, 2022                   SETAREH LAW GROUP
                                               MARLIN & SALTZMAN LLP
  12

  13
                                            By: s/ Stanley D. Saltzman
  14

  15                                           Attorneys for Proposed Plaintiff-in-
                                               Intervention, John Utne, individually and on
  16                                           behalf of all others similarly situated and
  17                                           aggrieved
  18

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   1                             CERTIFICATE OF SERVICE
   2         I hereby certify that on April 13, 2022, I electronically transmitted the
   3   foregoing document to the Clerk’s Office using the CM/ECF System for filing and
   4   service via transmittal of a Notice of Electronic Filing.
   5         I declare under penalty of perjury under the laws of the United States of
   6   America that the foregoing is true and correct.
   7   Executed on April 13, 2022, at Agoura Hills, California.
   8                                                 /s/ Stanley D. Saltzman______
   9                                                 Stanley D. Saltzman
  10

  11

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                    ATTACHMENT A
                                  to
                          Motion to Intervene
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7

8    Attorneys for Proposed Plaintiff-in-
     Internention, John Utne, individually
9    and on behalf of all others similarly
10   situated and aggrieved
11                            UNITED STATES DISTRICT COURT
12
                          SOUTHERN DISTRICT OF CALIFORNIA
13
     Case No. 19-cv-01766-AJB-AGS                     Related cases:
14                                                    Case No. 19-cv-01766-AJB-AGS
15   DONNIE SANCHEZ BARRAGAN,                         Case No. 20-cv-02541-AJB-AGS
     ARACELI BARRAGAN, and                            Case No. 21-cv-00461-AJB-AGS
16   JEREMEY BURCHAM, individually                    Case No. 21-cv-00462-AJB-AGS
17   and on behalf of others similarly                Case No. 22-cv-00276-AJB-AGS
     situated,
18                                                    Assigned to: Anthony J. Battaglia
19                          Plaintiffs,               Magistrate Judge: Andrew G. Schopler
                   vs.
20

21   HOME DEPOT U.S.A.,                   INC.,   a [PROPOSED] COMPLAINT-IN-
     Delaware Corporation,                          INTERVENTION OF
22
                                                    INTERVENOR JOHN UTNE
23                          Defendant;
24
     JOHN UTNE, individually and on
25   behalf of all others similarly situated
     and aggrieved,
26

27                          Intervenor.
28

     Case No.: 3:22-cv-00276-AJB-AGS              Page 1        Barragan, et al. v. Home Depot U.S.A., Inc.
                     [PROPOSED] COMPLAINT IN INTERVENTION OF INTERVENOR JOHN UTNE
 Case 3:22-cv-00276-AJB-AGS Document 32 Filed 04/13/22 PageID.148 Page 39 of 47



1    Case No. 20-cv-02541-AJB-AGS
2
     LISA DAVEY, individually and on
3    behalf of all others similarly situated,
4
                            Plaintiff,
5

6                  vs.
7    HOME DEPOT U.S.A., INC., a
8    Delaware Corporation, and DOES 1
     through 50, inclusive,
9

10                          Defendants;
11   JOHN UTNE, individually and on
12   behalf of all others similarly situated
     and aggrieved,
13

14                          Intervenor.
15
     Case No. 21-cv-00461-AJB-AGS
16
     JANELLY SANDOVAL, individually
17
     and on behalf of all others similarly
18   situated,
19
                            Plaintiff,
20                 vs.
21
     HOME DEPOT U.S.A., INC., a
22   Delaware corporation and DOES 1
     through 50, inclusive,
23
                         Defendant;
24
     JOHN UTNE, individually and on
25
     behalf of all others similarly situated
26   and aggrieved,
27
                            Intervenor.
28

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1    Case No. 21-cv-00462-AJB-AGS
2
     VIRGIE FLORES, as individuals and
3    on behalf of others similarly situated
4
                            Plaintiff,
5                  v.
6
     HOME DEPOT U.S.A., INC., a
7    Delaware limited liability company,
8    and DOES 1-50, inclusive,
9                           Defendants;
10
     JOHN UTNE, individually and on
11   behalf of all others similarly situated
12   and aggrieved,
13                          Intervenor.
14
     Case No. 22-cv-00276-AJB-AGS
15

16   NYIESHA WHITE, on behalf of
     herself and others similarly situated,
17

18                         Plaintiff,
                   v.
19

20   HOME DEPOT U.S.A., INC., and
     DOES 1 to 100, inclusive,
21

22                         Defendants;
23
     JOHN UTNE, individually and on
24   behalf of all others similarly situated
     and aggrieved,
25

26                          Intervenor.
27

28

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1          At the Court’s discretion, Plaintiff-Intervenor JOHN UTNE (“Intervenor”), on
2    behalf of himself and the Certified Classes in Utne v. Home Depot U.S.A., Inc., et al.,
3    Case No. 3:16-cv-01854-RS, files this complaint and thereby intervenes in this
4    action and alleges as follows:
5          1.      On March 8, 2016, John Utne filed a putative class action (“Utne
6    Action”) in the Superior Court of the State of California for the County of Alameda,
7    Case No. RG16806847, asserting four causes of action against Defendant HOME
8    DEPOT U.S.A., INC. (“Hone Depot”) for (1) Failure to Pay Hourly Wages
9    (Lab.Code §§ 223, 510, 1194, 1194.2, 1197, 1197.1, and 1198), (2) Failure to
10   Provide Accurate Written Wage Statements (Lab. Code § 226(a)), (3) Failure to
11   Timely Pay All Final Wages (Lab. Code §§ 201-203), and (4) Unfair Competition
12   (Bus. & Prof. Code §§ 17200, et seq.).
13         2.      The original Complaint in the Utne Action plead the following classes:
14         Lockdown Class: All hourly employees of Defendants in California who were
           required to wait off-the-clock while waiting to be released from Defendants'
15         stores following the end of their shift during the Relevant Time Period.
16         Wage Statement Penalties Class: All Lockdown Class members employed
           by Defendants in California during the period beginning one year before the
17         filing of this action and ending when final judgment is entered.
18         Waiting Time Penalties Class: All Lockdown Class members who separated
           from their employment with Defendants during the period beginning three
19         years before the filing of this action and ending when final judgment is
           entered.
20

21         3.      On April 8, 2016, Home Depot removed the Utne Action to the United
22   States District Court for the Northern District of California where it has been
23   pending since then. The Utne Action currently has 233 docket entries.
24         4.      In or around May of 2017 Plaintiff's counsel in the Utne Action retained
25   CPT Group to send a Belaire West notice to 5000 potential class members. Plaintiff's
26   counsel in the Utne Action conducted comprehensive written discovery and also flew
27   to Atlanta to depose Home Depot's Rule 30(b)(6) designees Christine Barnaby and
28   Barbara Pennington on July 18, 2017.
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1           5.      The operative complaint in the Utne Action, the Third Amended
2    Complaint, was filed on or around September 19, 2017 and added a fifth cause of
3    action for civil penalties pursuant the Private Attorneys General Act (Lab. Code
4    §§ 2698, et seq.).
5           6.      On November 14, 2017 John Utne filed a motion for class certification.
6    Plaintiff's counsel interviewed dozens of putative class members in the Utne Action
7    and obtained 47 declarations in support of class certification. On January 9, 2018,
8    Home Depot opposed the motion for class certification action, including submitting
9    69 declarations of Home Depot employees and managers regarding the issues raised
10   in the motion. Utne filed a reply brief on February 8, 2018.
11          7.      On March 20, 2018, the Utne Court certified the following classes:
12          Lock-In Class
13   All individuals employed by Home Depot in hourly paid or non-exempt positions in
     Home Depot stores in California at any time since March 8, 2012, and who worked
14   at least one shift ending after the time that the Home Depot store was scheduled to
     close to the public for the evening.
15
            Hourly Employee Class
16
     All individuals employed by Home Depot in hourly-paid or non-exempt positions in
17   California since March 8, 2012.
18          Utne ECF No. 92 at 1.
19          8.      On April 13, 2018, Home Depot filed a Petition for Permission to
20   Appeal the Class Certification Order in the Utne Action. On June 28, 2018 the Ninth
21   Circuit denied Home Depot's Petition for Permission to Appeal.
22          9.      On July 12, 2018 John Utne filed a motion to approve class notice in the
23   Utne Action. On July 26, 2018 Home Depot opposed the motion. On August 21,
24   2018 Judge Seeborg of the United States District Court for the Northern District of
25   California granted the motion. On September 28, 2018, the class notice administrator
26   in the Utne Action KCC mailed notice to 140,766 class members. Only 16 class
27   members opted out in response to the class notice. Plaintiffs Nyiesha White,
28   Araceli Barragan, Donnie Sanchez Barragan, and Virgie Flores were mailed
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1    class notice and did not opt out. There also is a Larry J. Burcham on the class list
2    who did not opt out, and who may be the same person as Plaintiff Jeremy Burcham.
3           10.     After class certification, Home Depot deposed 25 of the declarants in
4    the Utne Action who submitted declarations in support of Utne's Class Certification
5    Motion.
6           11.     On November 7, 2018, Utne filed a motion for partial summary
7    judgment on behalf of the certified classes in the Utne Action. On December 13,
8    2018, Home Depot deposed John Utne. On March 28, 2019, Home Depot filed an
9    Opposition to Utne's motion for partial summary judgment. Also on March 28, 2019,
10   Home Depot filed a motion for partial summary judgment as to Plaintiff Utne and
11   the certified classes in the Utne Action. On April 25, 2018 Utne filed an Opposition
12   to Home Depot's motion for partial summary judgment. On July 11, 2019, Judge
13   Seeborg entered an Order denying the motions for partial summary judgment.
14          12.     On October 16, 2019, both Parties in the Utne Action submitted their
15   initial expert reports with Home Depot submitting a report from expert Robert
16   Crandall, and John Utne submitting reports from experts Dr. Jon Krosnick, James
17   Toney and Gary White.
18          13.     The report of Dr. Jon Krosnick conveyed the results of a phone survey
19   to determine the frequency and duration of the alleged off-the-clock work.
20   Dr. Krosnick hired the national research firm SSRS to conduct the survey. Expert
21   Toney used the results of the survey to calculate class-wide damages.
22          14.     The deadlines in the case including completion of expert discovery were
23   extended multiple times in the Utne Action because of the Covid pandemic, other
24   scheduling issues, and issues with the data provided by Home Depot. The issues with
25   the data also caused Utne to incur hundreds of thousands of dollars in additional
26   expert fees.
27          15.     On December 17, 2021, the Parties in the Utne Action submitted sur-
28   rebuttal expert reports. Plaintiff's counsel in the Utne Action took the depositions of
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1    Home Depot's experts, Timothy Trujillo on January 18, 2022, Stephen Smith on
2    January 19, 2022, Dr. Edward Anderson on January 26, 2022, and Robert Crandall
3    on February 4, 2022. Home Depot took the depositions of Utne's experts James
4    Toney on January 20, 2022, Dr. Brian Kriegler on January 21, 2022, Gary White on
5    January 20, 2022, and Dr. Jon Krosnick on February 2, 2022.
6          16.     On August 12, 2019 Plaintiffs DONNIE SANCHEZ BARRAGAN and
7    ARACELI BARRAGAN filed a complaint against Home Depot in the Superior
8    Court of California for the County of San Diego, Case No. 37-2019-00042161-CU-
9    OE-CTL (“the instant Action” or the “Barragan Action”). On or around September
10   13, 2019, Home Depot removed the Barragan Action to this Court.
11         17.     On January 31, 2020 Plaintiff Janelly Sandoval filed the Sandoval
12   Action against Home Depot and Home Depot removed the case to this Court on
13   March 5, 2020.
14         18.     On June 9, 2020, Plaintiff Lisa Davey filed the Davey Action in state
15   court, and Home Depot removed the case to federal court on October 16, 2020.
16         19.     On June 23, 2020 Plaintiff Virgie Flores filed the Flores Action in state
17   court, and Home Depot removed the case to this Court on October 21, 2020.
18         20.     On March 26, 2021, Defendant Home Depot filed a Notice of Related
19   Cases in the instant Barragan Action through Counsel for Defendant Akin Gump
20   Strauss Hauer & Feld LLP, the same firm that previously represented Home Depot in
21   the Utne Action. ECF # 50. Nowhere in Home Depot’s Notice of Related Cases was
22   the Utne Action mentioned, despite the existence of the overlapping Certified
23   Classes in the Utne Action and Home Depot’s obvious awareness of that Action.
24         21.     On August 23, 2021, Plaintiff Nyiesha White filed a putative class
25   action in Los Angeles County Superior Court, and Home Depot removed the action
26   to this Court on November 5, 2021. On January 19, 2022, Home Depot filed a
27   Motion to Transfer the White Action citing the first to file rule and contending that
28   the Barragan Action was the first filed action. Again, nowhere in Home Depot’s
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1    Motion was the Utne Action brought up, despite substantial overlap between the
2    Certified Classes in the Utne Action and the classes Plaintiff White seeks to certify.
3    The White Action raises claims for employees waiting off-the-clock post shift on
4    closing shifts along with derivative penalties under Labor Code §§ 203 and 226,
5    claims directly at issue in the Utne Action and for which John Utne’s counsel were
6    appointed as class counsel.
7           22.      Home Depot was acutely aware of the Utne Action. After litigating for
8    years, Home Depot spent over one million dollars on expert Robert Crandall alone
9    defending against John Utne’s claims.
10          23.     Neither Plaintiffs nor Defendant in the instant Action have ever filed a
11   Notice of Pendency of Other Actions or Proceedings or Notice of Related Cases
12   pursuant to United States District Court Southern District of California Local Rule
13   40.1(f) which provides in pertinent part:
14          Whenever counsel has reason to believe that a pending action or proceeding
            on file or about to be filed is related to another pending action or proceeding
15          on file in this or any other federal or State Court (whether pending, dismissed,
            or otherwise terminated), counsel must promptly file and serve on all known
16          parties to each related action or proceeding a notice of related case, stating the
            title, number and filing date of each action or proceeding believed to be
17          related, together with a brief statement of their relationship and the reasons
            why assignment to a single district judge is or is not likely to effect a saving of
18          judicial effort and other economies. The Clerk will promptly notify the Court
            of such filing. This is a continuing duty that applies not only when counsel
19          files a case with knowledge of a related action or proceeding but also applies
            after the date of filing whenever counsel learns of a related action or
20          proceeding.
21          24.     Intervenor John Utne only learned of the instant Action through
22   research efforts exerted by Utne’s Counsel. Intervenor has timely moved to intervene
23   in this matter pursuant the standards laid out in San Jose Mercury News, Inc., v.
24   United States Dist. Court, 187 F.3d 1096, 1101 (9thCir. 1999) (“In determining
25   whether a motion for intervention is timely, a court must consider three factors: "(1)
26   the stage of the proceeding at which an applicant seeks to intervene; (2) the prejudice
27   to other parties; and (3) the reason for and length of the delay."). Any delay or
28   prejudice to this matter in bringing this Motion is solely attributable to the fact that
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1    Defendant failed to disclose the instant Action as having claims materially related to
2    the Utne Action. Additionally, the instant proceeding is not so advanced that the
3    present Intervention is untimely. The Plaintiffs in the instant Action have currently
4    scheduled Private Mediation for May 10, 2022, ostensibly seeking to settle out
5    overlapping claims in the Utne Action.
6           25.     Intervenor claims an interest in enforcing the Certified Classes rights
7    and remedies under the California Labor Code and PAGA arising out of conduct that
8    would be encompassed within the possible Barragan settlement and, thus, any delay
9    is excusable. See Day v. Apoliona, 505 F.3d 963, 965 (9th Cir. 2007) (holding that a
10   would-be intervenor's delay in joining the proceedings is excusable when the
11   intervenor does not know or have reason to know that his interests might be
12   adversely affected by the outcome of litigation) (citing United States v. Alisal Water
13   Corp., 370 F.3d 915 (2004)).
14          26.     Any decision by this Court regarding the pending negotiations for a
15   Barragan settlement, and specifically, the scope of its release, will have a significant
16   impact on Intervenor and the Utne Action, including the putative classes he has been
17   certified to represent and the aggrieved employees. Thus, in the event the Court were
18   to maintain the status quo, and prevent Intervenor from participating in this action,
19   his exclusion from participation would certainly prove to be detrimental, as
20   Intervenor will be unable to protect their interests, especially in light of the
21   substantial overlap in claims. Therefore, any issues the Court resolves in these
22   proceedings cannot be resolved without the Intervenor’s participation in this
23   litigation, and the Court must permit Intervenor to intervene in these proceedings, for
24   they are essential parties to this litigation.
25          27.     If this Court concludes that Intervenor is not entitled to intervene as a
26   matter of right under Rule 24(a), this Court should nevertheless allow Intervenor to
27   intervene permissively under Rule 24(b) because he meets the minimum criteria.
28

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1    Settlement Classes defined in the instant litigation would be subsumed in the
2    Certified Class definition in the previously filed Utne Action.
3           28.      Since any prejudice is solely attributable to Defendant’s failure to
4    disclose the materially related claims, Intervenor should be permitted to intervene in
5    this matter. Defendant cannot demonstrate any prejudice because Defendant knew
6    about the existence of the Utne Action for years. And yet, Defendant conspicuously
7    failed to advise the Court that there was a related case.
8

9           WHEREFORE, Intervenor respectfully prays for relief as follows:
10                1. For intervention in this matter to protect the interests of the John Utne
11                   Action Proceeding on Behalf of the Certified Classes.
12                2. For an Order appointing his counsel as Interim Class Counsel for the
13                   overlapping claims.
14                3. For an Order either staying the overlapping claims, or transferring the
15                   above captioned cases to the Northern District of California.
16                4. For such further relief that the Court may deem just and proper.
17

18   Dated: April 13, 2022                         SETAREH LAW GROUP
19                                                 MARLIN & SALTZMAN LLP

20                                             By: /s/ Shaun Setareh
21                                                 Shaun Setareh, Esq.
                                                   Attorneys for Proposed Plaintiff-in-Intervention,
22                                                 John Utne, individually and on behalf of all
23                                                 others similarly situated and aggrieved
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